                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORT CAROLINA
                             ASHVILLE DIVISION

JOSEPH CLARK, individually and on behalf of
all others similarly situated;
                                                   No. 1:17-cv-00240-MR-DLH
                    Plaintiff,
                                                   NOTICE OF APPEAL
       v.

HARRAH’S NC CASINO COMPANY, LLC,
d/b/a HARRAH’S CHEROKEE CASINO
RESORT and d/b/a HARRAH’S CHEROKEE
VALLEY RIVER CASINO AND HOTEL, and,
BROOKS ROBINSON,

                   Defendants.



       Notice is hereby given that Plaintiff Joseph Clark, individually and on behalf of all others

similarly situated, hereby appeals to the United States Court of Appeals for the Fourth Circuit

from the District Court’s September 28, 2018 Order [ECF No. 58] and Judgment in Case [ECF

59] granting Defendants’ Motions to Dismiss Plaintiff’s Complaint [ECF Nos. 34 and 44].

DATED: October 26, 2018

                                     Respectfully submitted,

                                     By:     s/Jeffrey A. Leon
                                             Jeffrey A. Leon
                                             QUANTUM LEGAL, LLC
                                             513 Central Avenue, Suite 300
                                             Highland Park, IL 60035
                                             Email: jeff@qulegal.com

                                             Philip J. Gibbons, Jr., NCSB #50276
                                             PHIL GIBBONS LAW, P.C.
                                             15720 Brixham Hill Avenue Suite 331
                                             Charlotte, NC 28277
                                             Email: phil@philgibbonslaw.com




       Case 1:17-cv-00240-MR-DLH Document 64 Filed 10/26/18 Page 1 of 3
                             James B. Zouras
                             STEPHEN ZOURAS, LLP
                             205 N. Michigan Avenue, Suite 2560
                             Chicago, IL 60601
                             Email: jzouras@stephanzouras.com

                             Attorneys for Plaintiffs




                                2

Case 1:17-cv-00240-MR-DLH Document 64 Filed 10/26/18 Page 2 of 3
                                CERTIFICATE OF SERVICE

       This is to certify that on October 26, 2018, a copy of the foregoing has been filed with the
Clerk of the Court using the CM/ECF system which will send notification to the following:

       Jennifer T. Williams
       jtwilliams@cozen.com

       Patrick McQuillan Aul
       paul@cozen.com

       Susan N. Eisenberg
       seisenberg@cozen.com

       Tracy L. Eggleston
       teggleston@cozen.com



                                             ______s/ Jeffrey A. Leon_____________
                                                   Jeffrey A. Leon




       Case 1:17-cv-00240-MR-DLH Document 64 Filed 10/26/18 Page 3 of 3
